911 F.2d 720Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Brian BOECKMAN, Plaintiff-Appellant,v.THE REGISTER, Beckley, West Virginia, Defendant-Appellee.
    No. 90-6845.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 20, 1990.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Beckley.  Charles H. Haden II, Chief District Judge.  (C/A No. 90-500)
      Robert Brian Boeckman, appellant pro se.
      S.D.W.Va.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Robert Brian Boeckman appeals from the district court's order which dismissed his action purportedly filed under 28 U.S.C. Sec. 1331.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Boeckman v. The Register, CA-90-500 (S.D.W.Va. May 21, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    